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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, CASE NUMBER

PLAINTIFF 2:19-cr-00595-CAS

Edward Buck

 

APPLICATION FOR

REVIEW/RECONSIDERATION OF ORDER
SETTING CONDITIONS OF

DEFENDANT. RELEASE/DETENTION

(18 U.S.C. §3142) AND REQUEST FOR HEARING

 

 

Application is made by U plaintiff defendant Edward Buck
that a hearing be held to review /reconsider the decision of

O United States District Judge by order dated:

 

[Y Magistrate Judge Patrick J. Walsh by order dated: 9/26/19

uf denying release and imposing detention under subsection UJ (d) or Wie) of Title 18 U.S.C. $3142; or
O ordering release upon certain conditions, or
O denying detention.

This application is made ( pre-sentence © pest-sentence based on the following facts not previously considered by

said judicial officer or changed circumstances as follows:
Mr. Buck is a high risk candidate for contracting COVID-19/ Mr. Buck is 65 years of age and suffers from pre-existing
medical conditions including heart disease.

Relief sought (be specific):
Mr. Buck seeks the following relief: That he be released on a signature bond or cash bail in the amount of $100,000.00.

Counsel for the defendant and plaintiff United States Government consulted on July 29, 2020
and opposing counsel declines to stipulate to an order providing the relief sought.

© Telephonic notice given to (YAUSA LDefendant’s Counsel OPSA O Interpreter OO USM CO Probation
on Jul 29, 2020

An interpreter is O required not required. Language

 

Defendant is M in custody O not in custody.

July 30, 2020 Defendant, Edward Buck through Atty C. Darden

 

 

Date Moving Party

 

APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)

 
 

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CERTIFICATE OF SERVICE
No. 2:19-CR-00595-CAS-1
Case Name: USA v. Ed Buck

I hereby certify that on July 30, 2020, I electronically filed the following
documents with the Clerk of the Court by using the CM/ECF system:

APPLICATION FPR REVIEW/CONSIDERATION OF ORDER SETTING
CONDITIONS OF RELEASE/DETENTION (18 U.S.C.§3142) AND
REQUEST FOR HEARING

I certify that a!l participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California

the foregoing is true and correct and that this declaration was executed on July 30,
2020, at Los Angeles, California.
/S/

 

K. Martin

 
